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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE




United States of America

      v.                                Criminal No. 06-cr-035-01-SM

Brandon Legere


                                 O R D E R


      Defendant’s motion for bail is denied.          His mother’s

deteriorating economic position is not a basis for bail.               He was

selling and using large quantities of crack before his arrest -

not supporting his mother.      The unpaid bills were each in part

unpaid when defendant lived with his mother.           He is facing a long

prison term, has an extensive criminal record and is an addict.

He remains a danger to the community.

      SO ORDERED.



                              ____________________________________
                              James R. Muirhead
                              United States Magistrate Judge

Date: May 8, 2006

cc:    Paul W. Pappas, Esq.
       William E. Morse, Esq.
       Jeffrey S. Levin, Esq.
